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                         C O U N T X X IX .
FLO RIDA DECEPTIV E AND UNFAIR TR AD E PM CTICES A CT (FDUTPA ).


 1016.       Petitionerre-allegesand affirmseach and every preceding paragraph of

 thisCom plaintand incorporate snm e here asifalleged anew .

 1017.       DefendantsAU RORA,and the occupantofthe Office ofCEO and

 PRESIDEN T ofAUROM         knew orshould have known,AUROR A lacked Standing to

 foreclose on Petitioner's M ortgage N O TE;ergo,

 1018.       D efendantsAUROM ,and theoccupantoftheOfficeofCEO and

 PRESIDENT ofAU RORA cfal.,filed,thereaAerprosecuted afrivolousAction,

 know ingly,orshould have known,ab initio,see 57.105 Fla Stat;
                                                         .




 1019.       AUROR A,and theoccupantoftheOftk e ofCEO and PRESIDEN T of

 A URORA etal.,know ,orshould haveknow n,them om entOriginalLendernegotiated the

 debtwith a third party,a strangerto the OriginalTransaction,AUROR A took on thecloak

 ofaThird-partp D ebt-collector,thereafter,

 1020.       However,AUROR A ispretending to betheCreditor;then,

 1021.       AUROR A discloseswho the alleged realCreditorreally is.

 1022.       AURORA offering M ortgage-Loan M oditk ation,w ithoutactualcapacity to

 perform .

 1023.       AURORA committingperjury;
 1024.       AURORA fabricating verified A ssignm entsexclusively forlitigation.



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W H ER EFO R E,PR EM ISE S C O N SID ER ED ,Petitioner directsthisC ourtfor entry of

     judgmentagainstAUROM ,and theoccupantoftheOfficeofCEO andPRESIDENT
      ofA UR O R A ,forviolation ofthe D EC EPTIW A r    U N FA IR TR AD E PR AC TICES

      A C T.




                                        C OUNT u X .
                                   M OR TGA G E FR Alm
      1025.      Petitionerre-allegesand aftirm seach and every preceding paragraph of

     thisCom plaintand incom orate sam e here asifalleged anew .

      1026.      A U R O R A ,and the occupantofthe O ffice ofCEO and PR ESID EU      of

     AG oM joinedwith AUROM 'SemployeeTHEODORE SCHULTZ orJOANN
     lkElN violated j 817.545Fla.Stat.,M ortgageFraud byexecuting,thereaAercausedto
     berecorded aknowingly fraudulentAssignm entofreal-estate in Palm Beach County,

     w hile involved in the m ortgage lending business,isafelony ofthethird degree;

     1027.       whenthelending proceedsexceedOne-Hundred--fhousand($100,000.00),
     asin the caseherein,AURORA,and theoccupantoftheOftk eofCEO and

     PRESIDENT ofAUR OR A and itsaforem entioned named em ployeeshave com m itted a

     felony ofthe second degree.




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1028.       A U RO R A ,and the occupantofthe O ffice ofCEO and PR ESID EN T of

AURORA joinedwith itsnamedemployeeshavecommittedForgeryand
Counterfeiting asperj 831.01Fla.Stat.;punishable asprovided in s.775.082,s.
775.083,or s.775.084.

1029.       AURORA and the occupantofthe Oftk e ofCEO and PRESIDEN T of

AURORA Uttered aforged instrumentinviolation ofj 831.02Fla.Stat.
1030.       A U R O R A and the occupantofthe O ffice ofCEO and PRESID EN T of

AUROR A intend to passastruethe signatureofan AUROR A Officerasthatofa

M ERS*officer,in violation ofj831.06Fla.Stat.
1031.       LAURA M CCANN,joined with AUROM co-workerCYNTHIA
W A LLA CE,a/k/a CIN DY W A LLA CE w ho occupies an O ftice in the D efault

ResolutionDepartment,jointly,orseverallymadeknowingly fraudulentstatementsin
courtinviolation ofj817.155Fla.Stat.,inCaseNO.07-80998-C1V-RYS                /
V ITUNAC.

1032.      aTheJâ- e.  Nofthemortgageservicershavebeen describedby
           many knowledgeablecommentatorsasT/reda//r.pmortgage
           servicing-''Thisterm doesnotdojustlcetothecurrent
           practicesoftheseparties.Thesepracticesareâe.p/a#
           predatory in that/Ae# constitutemoreofapremeditatedplan
           tonknore:Aeentirebankruptcyprocess....Itisalsopartofa
           pervasivepattern ofchlcanery fraud,frfcker',decdt,double-
           dealing andjustplain old-fashionedillegalconduct.''
                        M ax G ardner111,nam ed the OutstandingConsum erLawyerof2004
                                                                                   .




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W H ER EFOR E,PR EM ISES CO N SIDERED ,PetitionerdirectsthisCourtforentry of

     judgmentagainstAUROM ,andtheoccupantoftheOftk eofCEO andPRESIDENT
     ofA U R O M    w ith im puted know ledge,TH EO D OR E SCHU LTZ , JO AN N R EIN ,

     LAUR A M CCAN N and CY NTHIA W ALLACE,a/k/aCINDY W ALLACE for

     M ortgage Fraud.



                                        CO IJNT XXX I.
                                     SLA ND ER O F TITLE


     1033.         Petitionerre-allegesand affirm seach and every preceding paragraph of

     thisCom plaintand incop orate same here asifalleged anew    .




     1034.         Prem isesconsidered A ssigm nentofPetitioner'sDeed to AURORA by

     M ERS* recorded Jtme 11th 2009, naming AUROR A asAssignee,is SlanderofTitle;

     because,

     1035.         M ERS* 1acked Pow er-of-Attorney orsim ilarauthorization from its

     principalpriorto said Assignm ent;and,

     1036.         < R S* isnota party to the N ote and the record is barren ofany

     representation thatM ERS* had any authority to take any action with respectto theN ote;

     1037.         AIJRORA recording asecond bogusAssignm entSeptem ber24th 2009 isa

     subsequentactofSlander ofTitle.




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     1038.        Prem isesconsidered, M ER S* A ssignm ent,whereby M ERS*lacksPow er-

     of-Attorney,orsim ilarauthorization from itsprincipalpriorto Assignm ent,is avoid

     actab initio,resulting in SlanderofTitle,fotmdin ajudicialvenuelikeFlorida.

W H EREFO RE,PREM ISES CO NSIDERED;PetitionerdirectsthisCourtforentry of

     judgmentagainstAURORA,andtheoccupantoftheOfficeofCEO andPRESIDENT of
     AURORA jointly orseverally forSlanderofPetitioner'sTitle,andtheSlanderingof
     otherA m ericans'property Titles w hich are sim ilarly situated;Order A U RO R A to

     rem ove a1lA ssignm ents associated w ith Petitioner'sM ortgage-N o erE , and the M ortgage-

     N OTE ofotherssim ilarly situated from thepublic record in which AURORA caused to

     be recorded on oraAerSeptember15th2008,w ith costsand fees, in an am ountTrierof

     factdeemsisjustandfair,determined atTrial.




                                 (Intentionally leftblank)

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                                      C O U N T X X M I.
                                      FALSE CLM M

1039.        Petitionerre-allegesand afErm seach and every preceding paragraph of

thisComplaintand incop orate sam ehere asifalleged anew .

1040.        D efendantLAW OFFICE O F DAVID JAM ES STERN P.A.,D AVID

JAG S STERN Esquire,K AROL S PIERCE Esquire,CA SSAN DRA RACIN E-

RIGAUD Esquire,W STY B                S Esquire,actedjointly orseverally,underdirection
ofAURORA,comm enced an Action to forecloseon Petitioner'sproperty asa

knowingly false Claim .See,Lawyerresponsibleforfalse debtcollection claim , Federal

FairDebtCollectionPracticesAct,15U.S.C.S.j 1692 etseq,andHeintzv.Jenkins,

514 U.S.291;115S.Ct.1489,131L.Ed.24 395 (1995);
1041.       TheLAW OFFICE OF DAVID JAM ES S'
                                           I'
                                            ERN P.A .etal.,notthe Client

know s w hen an A ction doesnotfitthe cookie cutterpleadings em ployed by itsparalegal;

1042.       The clientmustbe advised,questioned and consulted;

1043.       Petitioner,and theotherAmericanssim ilarly situated do notow e any

m oney to A UR O R A ;furtherm ore,

1044.       Petitioner,and theotherAm ericanssim ilarly sim ated do notowe any

m oney to LEIIM AN B RO THER S BA N K ,FSB ,as its debthasbeen discharged, supra,

awithoutrecourse''setoverto LEI'IM AN BRO THERS H OLDING S IN C, by Special-

Indorsem ent,thereafterLEIIM AN BROTX RS HOLD INGS 1N C indorsed theNOTE            .




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W H ER EFO RE,PR EM ISES CO N SIDERED ,PetitionerdirectsthisCourtforentry of

     judgmentagainstLAW OFFICE OF DAVID J.STERN P.A.,DAVID JAW S STERN
     Esquire,K AROL S PIERCE Esquire,CASSAN DM           RACIN E-RIGAUD Esquire,V STY

     B        S Esquire,msSanctionsare in Orderagainstaforementioned partiesforeither

     fling,orarguing afrivolousAction,didsowithoutduty ofcuçe,primafasciakawardcosts
     andfees,in an amountTrieroffactdeemsisjustand fair,determined atTrial.




                                      COUN T XXM H .
                              PR O FESSIO N A L N E G L IG EN C E

     1045.        Petitionerre-allegesand affirm seach and every preceding paragraph of

     thisCom plaintand incorporate sam ehere asifalleged anew.

     1046.        TheLAW O FFICE OF DAVID J.STERN P.A .,DAVID J.STERN

     Esquire,K AROL S PIERCE Esquire,CASSAN DM R ACIN E-RIGAUD Esquire,

     M ISTY B A RN ES Esquire,knew orshould have know n com m encem ent,thereafter

     prosecution ofalegalaction to forecloserequiresareasonable duty ofcare;but,

     1047.       LA W OFFICE O F D A V ID J.STERN P.A .,etal.,served Petitionerw ith a

     knowingly fraudulentprocess,doneby grossnegligence;forexam ple,

     1048.         LAW OFFICE OF DA VID J.STERN P.A .,efal.,filed an un-verified

    residentialforeclosure Com plaintafterFebruary 11th 2010.



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     1049.         Thisreasonableduty ofcarew asnotin practicew hen aforem entioned

     Esquiresused theirOftk ew ith the fullforce and effectofthe law to foreclose,did do

     so withoutproperlegaljustitk ation,Standing,andProfessionalNegligence,causing
     Petitioner,orotherAm ericanssimilarly situated financialinjury.
     1050.       A reasonable duty ofcare would include contirm ing AURORA actually

     had legalpossession ofthe alleged debton a day priorto com m encem ent.

     1051.       A reasonableduty ofcare would include confirm ing M ERS* w asin

     possession ofthe M ortgage-No TE priorto the Assignm ent.

     1052.       Esquirespracticing in the State ofFlorida know orshould know M ERS*

     requiresa Pow er-of-Attom ey and actualpossession to assign som ething itdoesnotown.

     1053.       A reasonable duty ofcare w ould include confirm ing M ER S*> orA U R O R A

     wasactually in possession ofthe debtwhen the lossoftheM ortgage-No'rE allegedly

     occurred,by A ffidavitorotherwise.


W H ER EFOR E,PREM ISES C ON SIDERED,PetitionerdirectsthisCourtforentry of

     judgmentagainstLAW OFFICE OF DAVID J.STERN P.A.,DAVID JAM ES STERN
     Esquire,K ARO L S PIERC E Esquire,CA SSAN D R A M C IN E-RIG A U D Esquire,

     M ISTY B       S Esquireforprofessionalnegligence,forfiling orm aintaining a

     frivolousAction,with costsand fees,see 57.105 Fla.Stat, in an am ountTrieroffact

     deemsisjustand fair,determined atTrial.



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                                 C OUN T XXX W .
                FA LSE CLAIM :M AK ER IS NO T IN DEFAULT


1054.       Controlling-Docum entstsled with the Securities and Exchange

Com m ission m ake provision therein for the Serviceror the Trustee to m ake each

m onthly M ortgage paym entto each investorw hetherornotpaym entisreceived

from the H om e-ow ner.

1055.      Uniform Comm ercialCode3-602(a),states,in relevantpart;
           (b) ...an instrumentispaidtotheextentpaymentismade(t)by or
           on behay ofaparp obliged topay '/leinstrument,and (il)to
           aperson entitled:/ enforcetheinstrument Totheexfeafofthe
           payment,thepâlzkl/f/a ofthepary obliged topay theinstrumentis
           discharged even thoughpaym entism adewith knowledgeofaclaim
            to theinstrum entunderSection 3-306 by anotherperson.

1056.       TheReal-party-in-lnterest,Trust-certificate-l-lolderts)/lnvestorks)are
receivingpaymentmonthly,and arenotan injured party;or,
1057.       TheReal-party-in-lnterest,Trust-certifcate-l-lolderls)/lnvestorgs)
accepted TARP fundsand leftthe arena.

1058.       AU RO RA'Sclaim againstPetitionerfor Six-ldundred-Forty-Thousand-

Two-llundred-seventy-Eight20/100 ($640,278.20)due in principalon the
M ortgage NO TE is erroneous,and A URORA hasrefused,orisunable to validate

the alleged debt.




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     1059.        IF A U R O R A 'S behavior hereinabove is seen as conducive or

     illustrative ofAUROR A'Sbusinessm odusoperandithen AURORA has

     com m enced presum ably thousandsofFalse Claim s againstAm ericansw ho w ere not

     in D efaultatthe tim e A U R O R A claim ed D efault.




W H EREFO RE,PREM ISES CO NSIDER ED ,PetitionerdirectsthisCourtforentry of

     judgmentagainstAUROM ,andtheoccupantoftheOftk eofCEO and PRESIDENT
     ofAUROR A w ith imputed know ledge,see 57.105 Fla.Stat,forfiling orm aintaining a

     afalseclaim ,awardM akercostsand fees,in an amountTrieroffactdeem sisjustand
     fair,detenmined atTrial.




                                 glntentionallyleftblank)


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                                    CO UNT XXXV .
                               CIVIL R IG H T W O LATION


     1060.         Petitionerre-alleges and affirm s each and every preceding paragraph of

     thisCom plaintand incom orate snm e here asifalleged anew .

     1061.         D efendants AU RO M ,and the occupant ofthe O ffice ofCEO and

     PRESID EN T ofA U R O M ,LEH M AN BR O TH ER S B AN K FSB ,and LEH M AN

     BROTHERS H OLDING S INC,areregulated entitiestmderthe com orate governance

     oftheU NITED STA TES,undercoloroflaw iseitherattempting to deprivePetitioner,

     orotherAm ericanssim ilarly situated,orAU RORA hasdeprived otherAm ericans

     sim ilarly situated ofa rightguaranteed by the U .S.Constitution'sFifth A m endm ent
     tt
      ...
           norbedeprlved oflife,libere,orproperty,withoutdueprocessoflaw;norshall
    privateproperty betakenforpublicuse,withoutjustcompensation.
     1062.         Over90% ofAm ericanslosetheirproperty in a foreclosureproceeding by

     either abandoning theirproperty,orbyw ay of financial-hard-ship or ignorance w ave their

     legalD efenses,AUROR A etaI.,dueto Superior-Knowledge and funding ispositioned to

     deprive90% ofAm ericansoftheirdueprocessoflaw ,sim ply by suing them .

W H EREFO RE,PREM ISES C ON SIDERED,PetitionerdirectsthisCourtforentry of

    judgmentagainstAUROM ,andtheoccupantoftheOfficeofCEO andPRESIDENT
     ofAU ROM       with im puted knowledge,LEHM AN BROTHERS BANK FSB,and

     LEH M AN B RO THE RS H OLD IN G S IN C w ith a 1983 V iolation.



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R espectfully subm itted;

                                                                        J
                                              B y:
                                                           JOHN KORM AN
                                                           934 SW 21stW ay,
                                                       B oca R aton Florida 33486
                                                           (561)393-0773
                                                       kormanzool@ comcast.net
StateofFlorida     l
                    ) ss
CountyofPalm Beach )
JUR A T
          A Ilstatem ents m ade in this docum entare true,correctand this
          Complaintism adeunderthepenalty ofperjurywhich includesaII
          Exhibits subm itted,as true and correctcopies oforiginaldocum ents,or
          docum ents fled as a public record,or found in a C ourt record.

             Swornto(oraffirmed)andsubscribed beforemethis30thday ofM arch,
2012;by JOldN K O           ,who iseitherpersonally known,orproved to be theperson

nam ed in and who executed the foregoing instm m ent,being firstduly sworn,JOHN

KO         acknowledged thathe executed said instm m entforthepurposestherein

contained,ofhisfree and voluntary actand deed.

     W ITN ESS my hand and officialseal.



     NO       YP     LlC Signature        #vwp*        QI*'œ J.Brahdo
                                         *&   zx,       No- pubdc
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     N OTARY PrintedN am e                        M y com m ission expires


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D eflned T erm s,the follow ing capitalized term s shallhave the follow ing m eaning;

Banker's-A cceptance
banker's acceptance.A billofexchange dl'aw n on and accepted by a com m ercialbank.
Banker's acceptancesare oAen issued to finance the sale ofgoods in intem ationaltrade.
-
  Abbr.BA.- Alsotermed bnnk acceptance.(Cases:Banksand Banking 189;Bills
andNotes151.C.J.S.Banksand Banking jj452-458;BillsandNotes;Lettersof
Creditj 131.)Black'sLaw Dictionary(8thed.2004)pg 36.

Bankruptcy R em ote;
banknlptcy-rem ote entity.A businessentity form ed in am rmnerdesigned to m inim ize
the risk ofbecom ing a debtorin abanknm tcy case..The entity'sorganizationalcharter
usu.requiresatleastoneindependentdirectortobeaggointed,aswellasaunanimous
vote by the entity'sdirectors,before abanknzptcy petltlon m ay be filed.The businessis
usu.a special-pum ose entity established to perfonn lim ited ftmctions,such asto
purchaseand hold accountsreceivable orotherfinancialassetsthatgenerate revenue.It
also hasonly oneorafew prim ary creditors,to reduce the likelihood ofan involuntary
bankruptcy.A banknlptcy-rem ote entity w illsom etim esissue securitiesinstead of
receiving a loan from a tsnancialinstitution.See SIN GLE-PURPO SE PROJECT;
SPECIAL-PURPOSE ENTITY;projectfinancing underFINANCING.
Black'sLaw Dictionary(8th ed.2004)starting @ pg444.

Bankruptcy-T rustee;
Bankruptcy.A gersonappointedbytheU.S.Trusteeorelectedbycreditorsor
appointed by aludgeto adm inisterthebankruptcy estateduring a bankruptcy case.


Benellciary;
benetkiary(ben-u<schwa>>-fsh-ee-er-eeorben-<<schwa>>-fsh-<uschwa>l-ree),
n.1.A person forwhose benefitproperty isheld in trust;esp.,one desir ated to benetit
from anappointment,disposition,ormssignment(asin awill,insurancepolicy,etc.),or
to receive som ething as a resultofa legalarrangem entorinstrum ent.2.A person to
w hom anotherisin a fiduciary relation,w hetherthe relation isone ofagency,
guardianship,ortrust.3.A person w ho isinitially entitled to enforce aprom ise,whether
thatpersonisthepromiseeorathirdparty.- benetkiary,adj.
Black'sLaw Dictionary (8th ed.2004)pg 468.



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Book-E ntry;
bookentry.l.A notationmadein anaccountingjoumal.2.Themethod ofretlecting
ownership ofpublicly traded securitieswhereby a custom erofabrokerage firm
receivesconfirm ationsoftransactionsand monthly statem ents,butnotstock
certitk ates.SeeCE        CLEARING SYSTEM .(Cases:Brokers23,26.C.J.S.
Brokersjj65,67-.  69.1
Black'sLaw Dictionary (8th ed.2004)pg 546.
Theççbook entry''form ofownership allow syou to own securitiesw ithouta certificate.
Stock in directinvestm entplans,Treasury securitiespurchased directly from the U .S.
Departm entoftheTreasury,and recently issued m unicipalbondsareheld in book entry
fonn.sotlrce S.E.C.

C hain-of-Title;
The ownership history ofapiece ofland,from itsfirstownerto thepresentone.-
A lso term ed line oftitle;string oftitle.2.The ow nership history ofcom m ercialpaper,
traceablethrough the indorsem ents.*Forthe holderto have good title,every prior
negotiation m usthave been proper.lfa necessary indorsem entism issing orforged,the
chain oftitle isbroken and no latertransferee can becom e a holder.
Black'sLaw Dictionary(8thed.2004)page690.
Closing-D ate;
Closing-D ate is July 31St2006.




C losing D ocum ents;
The docum entswhich are signed atclosing.These include:the Deed ofTrustor
M ortgage with attachm ents,Prom issory N ote,Tm th-in-Lending D isclosing,and other
docum entsrelated to the transaction.

Closing-Table;
closing.Thefinalmeetingbetweenthepartiestoatransaction,(thetable)atwhich the
transaction isconstlm m ated;esp.,in realestate,the finaltransaction between thebuyer
and seller,whereby the conveyancing docum entsare concluded and them oney and
propertytransferred.- Also termedsettlement.(words,tithetable,''added)
Black'sLaw Dictionary(8th ed.2004)pg 769.




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C om puter-B ook-E ntry-system ;
The Com puter-Book-Entrp system is a m ultistoried autom ated system forpurchasing,
holding,and transfening m arketable securities;exists as a delivery versus paym ent
system thatprovidesforthe simultaneoustransferofsecuritiesagainstthe settlem entof
funds.

C om m ercial-D raft;
D em and forpaym ent.
D raftsigned by one party thatdirects a second party to pay a certain am ountto a third
party.

C onsNtulonal-com m on-law -trust;
EçA pure Trustisnon-statutorv.The Courtholdsthatthe Trustiscreated undertherealm
ofequity undercom m on law and is not...created by legislative authority.''
Crokerv.M accloy,649 US Supp 39.

C ontract;
contract,n.l.Anagreementbetweentwoormoregartiescreatingobligationsthatare
enforceableorotherwiserecognizableat1aw <ablndingcontract>.(Cases:Contracts1.
C.J.S.Contractsjj2,9,12.)2.Thewritingthatsetsforth such an agreement<a
contractis valid ifvalid tm der the law ofthe residence ofthe party w ishing to enforce
thecontract>.Black'sLaw Dictionary(8th ed.2004)pg970.
A ContractualOrganization;isttcreatedunderthecomm on law ofcontractsanddoes
notdepend upon any stam te foritsexistence.''
156 Am erican Law Review 28

'4Thefactthata businessfrxxfisnotregarded asaIegalen/f/.pdistinctfrom itstrustees,
fa frz/ctrus
       .   ##
              t...may resultin thisadvantageto the/rpuf,which acorporationdoesnot
POSSBSS....
M orrissev v.Com missioneroflnternalRevenue,296 US 344(1935).
SeeU nincop orated Association.

Controlling-Docum ents;
Includes,butnotlim ited to;Pooling and Servicing A greem ent,TrustAgreem ent,
Prospectus,Prospectus Supplem ent,CustodialA greem ent,D epositA greem ent,M aster
Purchasing A greem ent,lssuer A greem ent,Com m itm entto G uarantee A greem ent,
R elease ofD ocum entA greem ent,Servicing A greem ent,M msterA greem entfor
Servicer's Principaland lnterestCustodialA ccount,Servicer'sEscrow Custodial
A ccountA greem ent,R elease oflnterestA greem ent,Trustee A v eem ent, 8-K or 10-K .


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C orpus;
cojpus.ltaatintçbody''l1.Thepropertyforwhichatrusteeisresponsible;thetrust
prm cipal.- Also term ed res;trustestate;trustfund;trustproperty;trustres;
trust.(Cases:Trusts1.C.J.S.Troverand Conversion jj 1-9,14-18.)Z.PRINCIPAL
Black'sLaw Dictionary (8th ed.2004)pg 1040.
C u slm N um ber;
CU SIP standsforCom m ittee on U niform SecuritiesIdentifcation Procedures.A
CU SIP num beridentifes m ostsecurities,including:stocks ofal1registered U .S.and
Canadian com panies,and U.S.govem m entand m unicipalbonds.The CU SIP system -
owned by theAm erican BankersAssociation and operated by Standard & Poor's-
facilitatesthe clearing and settlem entprocessofsecurities.Source S.E.C.

D ebtM oney;
D ebtM oney isfiatm oney created by Banks,backed by the fu11faith ofthegovem m ent
predicated on taxpayerspaying theirtaxes.
çtD ebt''is notm oney as envisioned w ithin the C onstitution forthe U nited Statesof
A m erica.lnstead,it's a charge againstfuture m oney.B uteven though it'sa charge
againstfuture m oney,itcan stillbe spentas ifitw astoday'sm oney -exceptthatitm ust
be repaid w ith interest.A nd therefore debtm usthave som e sortofa balanced
relationship to the totalsize ofthe econom y -albeitthe future econom y - for itnotto be
destabilizing.

D eposit-A ccount;
depositaccount.SeeACCOUNT;depositaccount.A dem and,tim e,savings,passbook,
orsim ilar accountm aintained w ith a bank,savings-and-loan association,creditunion,
orlike organization,otherthan investm entproperty oran accountevidenced by an
instrument.UCC j9-102(a)(29).- Abbr.D.A.(Cases:BanksandBanking 151;
BuildingandLoanAsso-ciations40.C.J.S.BanksandBanking jj26* 268,277-278;
BuildingandLoanAssociations,Savingsand Loan Associations,and CreditUnionsjj
66,68,71-79.)Black'sLaw Dictionary (8th ed.2004)pg 52.
D ouble-D ipping;
double-dipping,n.An actofseeking oraccepting essentially the same benetk tw ice,
eitherfrom the sam e source orfrom two differentsources...
Black'sLaw Dictionary(8th ed.2004)pg 1488




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D raft
drafkn.l.An unconditionalwritten ordersignedbyoneperson (thedrawer)directing
anotherqerson(thedraweeorpayor)topayacertainsum ofmoneyondemandorata
definitetlmetoathirdperson(thepajee)ortobearer.*A checkisthemostcommon
exampleofadraA.- Alsotermedb1llofexchange;letterofexchange.CtlNOTE(1).
(Cases:Banksand Banking 137,189;BillsandNotes1-27.C.J.S.BnnksandBanking
jj328,330,452-458;BillsandNotes;LettersofCreditjj2-6,8-10,12-22,203-204,
250.1Black'sLaw Dictionary(8th ed.2004)pg 1496.
Electronic-spread-sheet;
Electronic m eans relating to technology having electrical,digital,m agnetic,w ireless,
optical,electrom agnetic,or sim ilar capabilities.
A spreadsheetisacomputerapplicationthatsimulatesagaper,accountinjworksheet.lt
displaysm ultiple cellsusually in atwo-dim ensionalm atrlx orgrid consistlng ofrows
and colllm ns.Each cellcontains alphanum eric text,num eric values orform ulas.
A form uladefineshow the contentofthatcellisto be calculated from the contentsof
anyothercell(orcombination ofcells)each timeany cellisupdated.Spreadsheetsare
frequently used forfinancialinform ation because oftheirability to re-calculate the
entire sheetautom atically after a change to a single cellism ade.A pseudo third
dim ension to the m atrix is som etim es applied as another layer,or layers/sheets,oftw o-
dim ensionaldata.W ikipediA

Entity A ssum ption
entity assum ption.Thepresumption thatabusinessisa unitseparate from itsowners
and 9om other firm s. (Cases:Com orations1.3.C.J.S.Cop orationsj 8.1Black,s8+

Externality;
A n externality is an effectofa purchase oruse decision by one setofpartieson others
w ho did nothavea choice and whoseinterestsw erenottaken into account.

Classic example ofanegative externality:pollution,generated by som e productive
entem rise,and aFecting otherswho had no choice and wasprobably nottaken into
account.

externality.(usu.pl.)A socialormonetary consequenceorsideeffectofone's
econom ic activity,causing anotherto benefitw ithoutpaying orto suffer w ithout
com pensation.- Also
term ed spillover;neighborhood effect.negative extem ality.An extem ality thatis
detrim entalto another,such asw aterpollution created by a nearby factory.


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positive extem ality.A n extem ality thatbenefits another,such as the advantage received
byaneighborhoodwhenahomeownerattractivelylandscapestheproperty.
                                   Black'sLaw Dlctionary (8th ed.2004),page 1757.
Federal-R eserve-N ote;
Thepapercurrency in circulation in theUnited States..Thenotesare issued by the
FederalReserve Bnnks,are effectively non-interest-bearing prom issory notespayable to
beareron dem and,and are issued in denom inationsof$1,$2,$5,$10,$20,$50,$100,
$500,$1,000,$5,000,and$10,000.Black'sLaw Dictionary (8th ed.2004)pg 1828.
Fictitious-E ntity;
lctitious,adj.Oforrelating toaGction,esp.alegalfiction,Black'sLaw Dictionary (8th
ed.2004)pg 1860;entity,An organization (such asabusinessoragovernmentalunit)
thathasa legalidentity apartfrom itsm em bers.
Black'sLaw Dictionary (8thed.2004)pg 1616.
Foreign U nincorporated-M sociation;
U nincorporated association is a group ofpersons such as a club or partnership w hich is
notlegally incorporated.U sually,thereare no offcialform alitiesto form an
tmincorporated mssociation.However,somejurisdictionsmayrequireaminimum
numberofpersonsto form such an association.Such associationsm ay generally be
form ed for a com m on pup ose.Form ed from w ithoutthe borders ofthis state.

Forw ard-contract;
The term çiforw ard contract''m eans-
An inform alagreem enttraded through abroker-dealernetwork tobuy and sellspecifed
assets,typically currency,ata specified price ata certain future date.See W ikipedia.

Fraud-u pon-the-court;
tçln equity 1aw theterm fraud hasa widersense,and includesal1acts,om issions,or
concealm entsby which oneperson obtainsan advantage againstconscience over
another,orwhich equity orpublicpolicy forbidsasbeingto another'sprejudice;asacts
in violation oftrustand confdence.ThisisoAen called constructive,legal,orequitable
fraud,orfraudin equity.''EncyclopediaofCriminology 175 (Vernon C.Brnnham &
SamuelB.Kutash edso,1949),s.v.GFraud.''
Black'sLaw Dictionary(8th ed.2004)pg 1950.




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G eneral-D eposit;
A bank depositthatisto thedepositor'scredit,thusgiving the depositorarightto the
moneyandcreatinjadebtor-creditorrelationshipbetweenthebankandthedepositor.
A bank isnotrequlred to return the actualm oney deposited asa generaldeposit,asit
mustwithaspecialdeposit;thebank needreturn only an equivalentsum .(Cases:Banks
and Banking75-80,119.C.J.S.BanksandBanking jj 161,172,175-196,246,248,
269-271,274,276,279,284.)Black'sLaw Dictionary(8th ed.2004)pg 1326.

H ard-M oney-tzoan;
hard m oney.1.Coined m oney,in contrastto papercurrency.2 Cash.law fulm oney.
M oney thatis legaltenderforthe paym entofdebts.B lack's 8 pg 3184.


H ear-say;
hearsay rule.'l'he rule thatno assertion offered mstestim ony can be received unless itis
orhasbeen open to testby cross-exam ination oran opportunity forcross-exam ination,
exceptasprovided otherw ise by the rules ofevidence,by courtrules,orby statute.@
Thechiefreasonsforthe rulearethatout-of-courtstatem entsam ounting to hearsay are
notmadeunderoathand arenotsubjectto cross-examination.Fed.R.Evid.802.Rule
803 provides23 explicitexceptionsto the hearsay rule,regardlessofwhethertheout-
of-courtdeclarantisavailableto testify,and Rule 804 providesfivem ore exceptionsfor
situationsin whichthedeclarantisunavailabletotestify.(Cases:CriminalLaw 419;
Evidence314-324.C.J.S.CriminalLaw 5856;Evidencejj227-228,234,259-266,
268-284,319,505-506.1Black'sLaw Dictionary (8thed.2004)pg2112.
H older-in-D ue-course;
holder in due course.A person w ho in good faith has given value fora negotiable
instrum entthatiscom plete and regularon itsface,isnotoverdue,and,to the
possessor'sknowledge,hasnotbeen dishonored.*UnderUCC j3-302,aholderindue
coursetakestheinstm mentfreeofa11claimsandpersonaldefenses,butsubjecttoreal
defenses.- Abbr.I'IDC;HID C.- A lso term ed
due-courseholder.(Cases:BillsandNotes327-384.C.J.S.Billsand Notes;Lettersof
Creditjj4,24,28,30,33,65,142-147,149-153,157,159,169-201.1
lnvestm ent-c ontract;
investm entcontract.1.A contractin which m oney isinvested in acomm on enterprise
with profitsto com e solely from the effortsofothers;an agreem entortransaction in
w hich a party invests m oney in expectation ofprofitsderived from the efforts ofa
prom oterorotherthird party.

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2.A transaction in w hich an investorfurnishesinitialvalue orrisk capitalto an
enterprise,aportion ofthatamountbeing subjected totheHsksoftheentem rise.*In
such an arrangem ent,the investortypically doesnotreceive the rightto exercise control
overthemanagerialdecisionsoftheentep rise.(Cases:SecuritiesRegulation 5.10,252.
C.J.S.SecuritiesRegulation jj3,9-10,33,381-382,384-386,392.)
tç(A)n investmentcontractforpurposesoftheSecuritiesActm eansacontract,
transaction orschem ew hereby aperson investshismoney in acomm on enterprise and
isled to expectprofitssolely from the effortsoftheprom oterorathird party....lt
embodiesatlexibleratherth% astaticprinciple,onethatiscapableofadaptationto
m eetthe countlessand variable schem esdevlsed by those who seek theuse ofthe
m oney ofotherson the prom ise ofprofts.''SEC v.Howey Co.,328 U .S.293,298-99,
66S.Ct.1100,1103(1946).Black'sLaw Dictionary(8th ed.2004)pg 2422.
An investm entcontractthuscam eto m ean acontractorschem e forçttheplacing of
capitalor laying outofm oney in a w ay intended to secure incom e orprofitfrom its
em ploym ent.''State v.Gopher Tire tt R ubber Co.,146 M inn.52,56,177 N .W .937,
938.Thisdefnition wastm iform ly applied by state courtsto avariety ofsim ations
where individualswere 1ed to investmoney in a com mon entem rise with the
expectation thatthey w ould earn a protk solely through the efforts ofthe prom oter orof
som e one otherthan them selves.

L egalT ender;
legaltendenThemoney (billsand coins)approved in acountry forthepaymentof
debts,thepurchaseofgoods,andotherexchangesforvalue.SeeTENDER (5).(Cases:
United States34.C.J.S.United Statesjj 162-163.)
Black'sLaw Dictionary (8th ed.2004)starting @ pg 2626
L ender;
lender.A person orentity from which something(esp.money)isborrowed.
Black'sLaw Dictionary (8th ed.2004)pg 2875.
Iex A nastasiana;
1ex Anastasiana 5369A law providingthataperson purchasing adebtfrom theoriginal
creditorforlessthan itsnom inalvalue wasnotentitled to recoverf'
                                                               rom the debtorm ore
thantheamountjaidwithlawfulinterest.
Black'sLaw Dictlonary (8th ed.2004)pg2893.
L oan;
loan,n.l.An actoflending;agrantofsom ething fortem porary use G um ergavethe
laptop asaloan,notagir .(Cases:Contracts194.)2.A thing lentfortheborrower's
tem porary use;esp., a sum ofm oney lentatinterest.      Black,sgth page :9:4.

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M edium O f Exehange;
Anything thatisgenerally accepted asastandardofvalue(likeaNOTE)and ameasure
ofw ealth in aparticularcountry orregion.


M oney;
m oney.1.The m edium ofexchange authorized or adopted by a governm entaspartof
its currency;esp.dom estic currency <coins and currency are m oney>.
UCC j 1-201(b)(24).
2.A ssetsthatcan be easily converted to cash <dem and depositsarem oney>.
3.C apitalthatis invested ortraded as a com m odity < the m oney m arken .
4.1 1.)Funds;sum sofmoney <investmentmoneys>.
-
  Also spelled (in sense4)monies.SeeM EDIUM OF EXCHANGE;LEGAL TENDER.

M ortgage Loan;
mortgage(mor-gij),n.1.A conveyanceoftitletopropertythatisgiven assecurity for
the paym entofa debtorthe perform ance ofa duty and thatw illbecom e void upon
paymentorperformanceaccordingtothestipulatedterms.- Alsotermed(archaically)
deadpledge.gcases:M ortgages1.C.J.S.M ortgagesjj2.-6.)2.A lienajainstproperty
thatisgranted to securean obligation (such asadebt)andthatisextingulshedupon
paymentorperformanceaccordingto stipulatedterms.(Cases:M ortgagesI4S.C.J.S.
M ortgagesjj 198,200.13.An instrument(such asadeed orcontract)specifyingthe
term s ofsuch a transaction.4.Loosely,the loan on w hich such a transaction isbased.5.
Them ortgagee'srightsconferred by such atransaction.6.Loosely,any real-property
security transaction,including a deed oftrust.- Abbr.M .- m ortgage,vb.
Black'sLaw Dictionary (8thed.2004)pg3198.

M oney-of-A ccount;
a denom inatorofvalue or basisofexchange w hich isused in keeping accounts and for
which therem ay orm ay notbe an equivalentcoin ordenom ination ofpaperm oney.
W ebster'son-lineD ictionary;seealso A ffidavitofW alkerTodd <çExhibitC''hereto
attached.


M onep of-Exchange;
SeeM oney;seealso A ffidavitofW alkerTodd ttExhibitC''hereto attached.




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N egotiable
negotiable,adj.l.(Ofawritten instm ment)capableofbeingtransferred by delivery or
indorsem entwhen thetransfereetakesthe instrumentforvalue,in good faith,and
withoutnoticeofcontlictingtitleclaimsordefenses.lcases:BillsandNotes144.C.J.S.
BillsandNotes;LettersofCreditjj 127,129-130,143.)2.(Ofadeal,agreement,etc.)
capableofbeing accomplished.3.(Ofapriceordeal)subjectto furtherbargaining and
possible change.CE N ONNEGOTIABLE;A SSIGN ABLE.
Black'sLaw Dictionary (8th ed.2004)pg 3288.

N egotiable Instrum ent
negotiableinstrument.A written instm mentthat(1)issignedby themakerordrawer,
(2)includesanunconditionalprom iseorordertopay aspecified sum ofmoney,
(3)ispayableon demand oratadefnitetime,and(4)ispayableto orderortobearer.
UCC j3-104(a).- Alsotermednegotiableyaper;negotiablenote.*Amongthe
varioustypesofnegotiableinstrumentsareblllsofexchange,promissoy notes,bank
checks,certificatesofdeposit,andothernegotiablesecurities.(Cases:Blllsand Notes
5,144-175.C.J.S.BillsandNotes;LettersofCreditjj3-4,9,127-138,143,148,155,
159.)Black'sLaw Dictionary(8th ed.2004)pg 3289.

tçW hatare called tnegotiable instrum ents,'or çpaperto bearer,'such as bills of
exchange,orprom issory notes,do really passfrom hand to hand,eitherby delivery or
indorsement,givingtoeachsuccessivereciyientarightagainstthedebtor,towhichno
noticetothedebtorisessential,andwhich,lfthepayerisheldbona5deandforvalue,
istm affected by flaw sin thetitleofinterm ediate asslgnors.''Thom asE.H olland,The
ElementsofJurisprudence315-16 (13th ed.1924).
çione m ustfirstunderstand thatanegotiableinstrum entisapeculiaranim aland that
manyanimalscallinjforthepaymentofmoneyandotherslooselycalledçconunercial
paper'arenotnegotlableinstrumentsandnotsubjecttotherulesofArticle3.9'2 James
J.W hite& RobertS.Sllmmers,Uniform CommercialCodej 16-1,at70(4th ed.
1995).
N om inal-tzender;
Nominaladj.l.Existinginnameonly.'qhekingwasanominalfigureheadashehadno
POW er>
3.Oforrelating to a nam e orterm <anom inaldefinition>.- nom inally,adv.
Black'sLaw Dictionary (8th ed.2004)pg 3321.


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N om inee;
A persondesignatedtoactinplaceofanother,usu.inaverylimitedway.3.A party
who holdsbare legaltitle forthe benetitofothersorwho receivesand dlsG butesfunds
forthebeneftofothers.
A persondesigyatedtoactinplaceofanother,usu.inaverylimitedway.
Black'sLaw Dlctionary (8th ed.2004)pg3325.



     Nom inee defined;e.g.stock held by brokerage firm in streetnam eto facilitate
     transactions even though custom er is actualow nerofsecurities. B lacks6th


             LasalleBank Nat.Ass'n v.Lamv,2006W L 2251721,at*2 (N.Y.
             Sup.2006) M nomineeoftheownerofa noteandm ortgage
             may noteffectivek Jxyka thenoteandmortgageto anotherfor
             wantofan ownership interestin saidnoteandmortgageby the
             nom inee-''gtmpublished opinion).
             ln reW ilhelm,407B.R.392 (Bankr.D.Idaho2009)h..standard
             m ortgl,#enotelanguagedoesnotapressl
                  ..
                                                   k orimplicitly authorize
             M ERr to transferthenote'';ln reVargas,396 B.R.511,517
             tBaxlkr.C.D.Cal.2008)6IIIfFHM hastr/ay/erre#thenote,
             M ERV isno longeran authorized agentoftheholderunlessithas
             aseparateageac.pcontractwith thenew undisclosedprinc#al.
             M ERf presentsno evidenceasto whoownsthenote,orofany
             authorization //acéon behalfofthepresentownen''; Saxon
             M orteaeeServices.Inc.v.Hillery,2008 W L 5170180(N.D.Cal.
             2008)gtmpublishedopinionjHlFlorthereto bea validassignment,
             therem ustbemorethanjustasW&nmentofthedeed alone;thenote
                                            .

             m ustalso be assigned....M E R r purportedly assigned both the
             deedoftrustand thepromissory note....H owever,thereisno
             evidenceofrecordthatestablishesthatM ERSV eitherheldthe
             prom issory aw eor wasgiven 'Ae authoriy ...'o assign #Aenote.''




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N onnegotiable
nonnegotiable,adj.l.(Ofan agreementorterm)notsubjectto change'qhekidnapper's
demandswerenonnegotiablel.z.(Ofan instrumentornote)incapableoftransferringby
indorsementordelivery.Cf.NEGOTtABLE INSTRUM EN F .(Cases:BillsandNotes
144.C.J.S.BillsandNotes;LettersofCreditjj 127,129-130,143.)
Black'sLaw Dictionary (8th ed.2004)pg 3345.


M ortgage-N o TE ;
Prom issory N O TE and M ortgage instrum ent.



O ffBalance SheetE ntry;
offbalance sheetentry m eansafterthey selltheN OTE,instead ofshowing iton their
balance sheet,they m oveoverto some otherentitiesbalance sheet.ltisno longeron the
banksbooks.This is called offbalance sheetbookkeeping.They are notshow ing the
liability side oftheledgerorthe accotmtspayablebecauseithasbeen m oved overto
som eone else's balance sheet.


O ngoing-c rim inal-Enterprise;
H aving the character ofa crim e;in the nature of a crim e;
entem rise,n.l.A n organization orventure,esp.for business purposes.B lack,s gth
The FBldetinesorganized crim e as any group having som e m annerof a form alized
structureand whoseprimary objectiveistoobtain moneythrough illegalactivities.
Such groupsmaintain theirposition through the useofactualorthreatened violence,
co= ptpublic om cials,grah,orextortion,and generally have a significantim pacton
thepeople in theirlocales,region,orthe country asaw hole.


O w ner-ship;
ownership.Thebundleofrightsallowingonetouse,manaje,andenjoyproperty,
including the rightto convey itto others..Ow nership impllestherightto possessa
thing,regardlessofany actualorconstructive control.
Black'sLaw Dictionary (8th ed.2004)pg 3503.




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Pay to the O rder of;
A negotiable instrum entisa docum entguaranteeing the paym entofa specitic nm ount
ofmoney,eitheron dem and,orata settime.A ccording to the Section 13 ofthe
N egotiable lnstrum ents A ct,1881 in lndia,a negotiable instrum entm eans a prom issory
note,billofexchanjeorchequepayableeithertoorderortobearer.So,therearejust
threetypesofnegotlable instm m entssuch asprom issory note,billof
exchangeand cheque.Chequealso includesDemand Draft(Section 85A).
M orespeciscally,itisadocumentcontemplated by acontract,which (1)warrantsthe
paym entofmoney,theprom iseofororderforconveyanceofwhich isunconditional;
(2)specifiesordescribesthepayee,whoisdesignated on and memorializedby the
instrument;and (3)iscapableofchangethroughtransferby valid negotiationofthe
instrum ent.
A spaym entofm oney isprom ised subsequently,the instrum entitselfcan be used by
theholderin duecourseasastore ofvalue;although,instrum entscan betransferred for
amountsincontractualexchangethatarelessthan theinstrument'sfacevalue(known
asççdiscotmtinf').UnderUnited Stateslaw,Article3oftheUniform Commercial
Code asenacted in the applicable State law governs the use ofnegotiable instnlm ents,
exceptbanknotesCTederalReserveNotes'' aka''paperdollars'').
C om m ercialPaper/N otes and D raAs;Com m ercialPaper calls fora party to pay m oney
ratherthan deliver goods or pedbrm a service.
N ote;Tw o party instrum ent.M aker:person who w illpay.Payee:person to whom note
ispayable.
Phantom -Entity;
Som ething apparently seen,heard,orsensed,buthaving no physicalreality;a ghostor
an apparitioniFictitious;nonexistent.

Possessorp lnterest;
possessory interest.1.Thepresentrightto controlproperty,including the rightto
excludeothers,by apersonwhoisnotnecessarilytheowner.(Cases:Property 10.
C.J.S.Property jj27-31,33.12.A presentorfuturerighttotheexclusiveuseand
possession ofproperty.
çiW e shalluse theterm tpossessory interest'to includeboth presentand future interests,
and To exclude such interestsaseasem entsand protks.The readershould notethatthe
Restatem entofProperty usesthe term çpossessory'to referonly to intereststhatentitle
theownertopresentpossession.SeeRestatement,Property j 7,9,153(1936).''Thomas
F.Bergin & PaulG .Haskell,Prefaceto Estatesin Land and Future lnterests 19-20 n.l
(2ded.1984).Black'sLaw Dictionary(8thed.2004)page3696.

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Post-c losing;
postclosing:aAerthetransaction (closinglisexecuted.Post-closing literally m eans
afterclosing.


Pow er-of-A ttorney;
pow erofattom ey.1.A n instrum entgranting som eone authority to actas agentor
attom ey-in-factforthe grantor.2.A powerofattom ey thatauthorizesan agentto
transactbusinessfortheprincipal.Cf.specialpow erofattorney.
(Cases:PrincigalandAgent97.C.J.S.Agencyjj150-152.)
Black'sLaw Dlctionary (8th ed.2004)pg 3713.

Purchase-M oney-M ortgage;
A m ortgage thatabuyergivestheseller,w hen the property isconveyed,to securethe
unpaid balance ofthepurchase price.- Abbr.PM M .See SECURITY AGREEM EN T.
(Cases:M ortgages1,115.C.J.S.M ortgagesjj2--6,151.1
Black'sLaw Dictionary (8thed.2004)pg3201.
A purchase-m oney m ortgage isa note secured by a m ortgage ordeed oftrustgiven by a
buyer,asborrow er,to a seller,as lender,aspartofthe purchase price ofthe realestate.
ltisa m ethod offinancing a hom e in which buyerborrow sfrom the sellerinstead of,or
in addition to,a bank.ltissometim esused when abuyercannotqualify fora bank loan
forthe fullam ount.ltm ay also be referred to as sellerfinancing orownerfinancing.
Therearegenerallytwotypesofpurchasemoney mortgages:(1)amortgagegiven by
thebuyerofpropertytothesellerto securethebalanceofthepurchasepriceCçseller
take-back''loans)and secured bytheproperty beingsold (i.e.,notby someother
property);or,(2)A ttthirdparty''purchasemoneymortgage,givenby lenderto securea
loan which w asused to pay a1lorpartofthepurchaseprice on the dwelling occupied
totally,orin parq by purchaser.A purchase m oney m ortgage involvesthe
owner's/borrow ers'risk oflosing the property and the foreclosure'simpacton the
owner'scredit.




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R eal-partp ln-lnterest;
realparty in interest.A person entitled tmderthe substantive 1aw to enforcethe right
sued upon and w ho generally,butnotnecessarily,benefksfrom the action'sfinal
outcome.- Alsotermedparty ininterest;(archaically)interessee.Cf.nominalparty.
(Cases:FederalCivilProcedure 131;Parties642).C.J.S.Partiesjj23-24.1Black,sgth
R EA L.PA R TY .IN -IN TEREST R U LE
real-partp in-interestrule.-f'heprinciplethatthe person entitled by law to enforce a
substantiverightshould be the oneunderw hose nam ethe action isprosecuted.Fed.R.
Civ.P.17(a).
Screen-shot;
Stillimagerepresentingtheprojectionviewedemanating9om acomputer'smonitor.
Security;
The term tsecurity'm eansany N O TE,stock,treasury stock,bond,debenm re,evidence
ofindebtedness,certificate ofinterestorparticipation in any profit-sharing agreem ent,
collateraltrustcertitk ate,pre-organization certifk ate orsubscription,transferable
share,investm entcontract,voting trustcertificate,certificate ofdepositfora security,
fractionalundivided interestin oil,gas,orotherm ineralrights,or,in general,any
interestorinstrum entcom m only known asa 'security,'orany certitk ate ofinterestor
participation in,temporary orinterim certificate for,receiptfor,guaranteeof,orwarrant
orrightto subscribe to orpurchase,any ofthe foregoing.

FDIC Law,Regulations,Related A cts,8000 -M iscellaneousStatutesand Regulations,
SECURITIES ACT OF 1933;AN ACT;To providefulland fairdisclosure ofthe
characterofsecm itiessold in interstateand foreign com m erce and through them ails,
andtopreventfraudsin thesalethereotland forotherpum oses.
SEC.2.(a) DEFIM TIONS.--W IIen usedinthistitle,tmlessthecontextotherwise
requires-

   (1) Theterm çfsecurity''meansanynote...
A security is generally a fungible,negotiable financialinstrum entrepresenting Gnancial
value.Sectuitiesarebroadlycategorized into debtsecurities(such
asbanknotes,bondsanddebentures)and equity securities,e.g.,common stocks;
and derivative contracts,such asforwards,futures,optionsand sw aps.The company or
otherentity issuing the security iscalled theissuer.A country'sregulatory structure
determ ineswhatqualifesasasecurity.Forexnmple,private investm entpoolsm ay


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have som e features ofsecurities,butthey m ay notbe registered orregulated as such if
they m eetvariousrestrictions.
Securitiesmay be represented by a certificate or,m oretypically,ttnon-certificated'',that
isin electronic ortçbook entry''only form .Certifk atesm ay be bearer,m eaning they
entitlethe holderto rightstmderthe security m erely by holding thesecurity,
orregistered,m eaning they entitle theholderto rightsonly ifhe orsheappearson a
sectlrity registerm aintained by the issueror an interm ediary.They include shares of
cop orate stock orm utualfunds, bonds issued by corporationsorgovem m ental
agencies,stock optionsor otheroptions,lim ited partnership units,and various other
form alinvestm entinstrum ents thatare negotiable and fungible.

Stellionate;Those,e.g.,whograntdoubleconveyancesofthesnmesubject,areguilty
ofthiscrim e ...and are ptm ishable arbitrarily in theirpersonsand goods,besides
becom ing infam ous.''

SpecialD eposit;
specialdeposit.A bank depositthatism ade fora specificpurpose,thatiskept
separately,and thatisto beretum ed to the depositor..The bank servesasa bailee or
trustee fora specialdeposit.
-
  Alsotermed specificdeposit.lcases:BanksandBanking 153.C.J.S.Banksand
Banking jj283-287,290.1Black'sLaw Dictionary (8th ed.2004)pg 1326.

Speciald ndorsem ent;
U.C.C.j 3-205
(a)lfan indorsementismadeby theholderofan instrument,whetherpayabletoan
identified person orpayableto bearer,and the indorsem entidentifesa person to whom
itm akesthe instrum entpayable,itisa ''specialindorsem ent.''W hen specially
indorsed,an instrum entbecom espayableto the identified person and may be negotiated
only by the indorsem entofthatperson.'I'he principlesstated in Section 3-110 apply to
specialindorsements.Black'sLaw Dictionary(8th ed.2004)pg 2266.

Speeial-purpose-v ehicle;
SpecialPurpose Vehicles,CreditDefaultSwaps,lnterestRate Swaps,and
C ollateralized D ebtO bligations.




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Straw m an;
straw m an.
1.A fictitiousperson,esp.one thatis w eak ortlaw ed.2.A tenuous and exaggerated
counterargllm entthatan advocateputsforward forthe sole purpose ofdisproving it.
-  Also term ed straw-man argum ent.3.A third party used in som etransactionsasa
temporary transfereeto allow theprincipalpartiesto accom plish som ething thatis
otherwiseimpermissible.Black'sLaw Dictionary(8thed.2004)pg4456.
also
A person to whom titleto property ora businessinterestistransferred forthe sole
pup ose ofconcealing the trueownerand/orthebusinessm achinationsofthe parties.
Thus,the straw m an hasno realinterestorpm icipation butism erely a passive stand-in
fora realparticipantwho secretly controlsactivities.

StreetN am e;
streetnam e.A brokerage firm 'snam e in which securitiesowned by anotherare
registered..A security isheldby abrokerinstreetname(atthecustomer'srequest)to
simplify trading because no signature on the stock certificate isrequired.A streetnam e
m ay also beused forsecmitiespurchased on m argin.The word ttstreet''in thisterm isa
referencetoW allStreet.Black'sLaw Dictionary(8th ed.2004)pg 4458.
Superior-K now ledge;See K N O W LED G E
superiorknowledge.Knowledjegreaterthanthathadbyanotherperson,esp.soasto
adversely affectthatperson <1n itsfraud claim ,the subcontractoralleged thatthe
generalcontractorhad superiorknowledgeoftheequipm entshortage>.lcases:Fraud
17;Negligence 1088,1286(2).C.J.S.Negligencejj484-486,500,539,545,557-559,
563,634.)Black'sLaw Dictionary(8thed.2004)starting@ pg2547.
A n aw areness or understanding ofa factorcircum stance;a state ofm ind in w hich a
person hasno substantialdoubtaboutthe existence ofa fact.

Itisnecessary ...to distinguish betw een producing a resultintentionally and producing
itknow ingly.lntention and know ledgecom m only go together,forhe who intendsa
resultusually knowsthatitwillfollow ,and he who knowsthe consequencesofhisact
usually intendsthem .

tt-fhethird issuein section 523(a)(3)isthemeaningofEnoticeoractualknowledge.'
UndertheUniform Comm ercialCode knowledgem eansactually knowing som ething;
notice m eanshaving received inform ation from which one could inferthe existence of
therelevantfact.W hattheadjectivetactual'addstotheideaofçknowledge'is
unclear.''David G.Epstein etal.,Banknlptcy j7-27,at516 (1993).

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constructive knowledge.Knowledgethatoneusing reasonable care ordiligence should
have,and therefore thatis attributed by law to a given person <the courtheld thatthe
partnershad constructiveknow ledgeofthepartnership agreem enteven though none of
them had read i> .

im puted knowledge.K nowledge attributedto agiven person,esp.because ofthe
person'slegalresgonsibilityforanother'sconduct<theprincipal'simputedknowledge
of its agent's deallngs>.

reckless know ledge.A person's aw areness thata prohibited circum stnnce m ay exist,
regardless ofw hich the person accepts the risk and goes on to act.


Successor-in-lnterest;successorin interest.One who followsanotherin ownership or
controlofproperty..A successorin interestretainsthe sam erightsasthe original
ow ner,w ith no change in substance.

Synthetie-N o r
              fE ;
SeeM ortgage-N o'rE supra,how everfound only in electronic digitalformat,a scanned
copy viewed from acomputerscreen having accessto said digitaldata-base.N otan
original,hard-copy,nora tangible copy.


Third-partp Benelk iary;
third-party beneficiary.A person who,though notaparty to a contract,standsto benetit
from thecontract'syerformance..Forexample,ifAnnandBobagreetoacontract
underwhich Bob w1llrendersom eperform ance to Chris,then Chrisisa third-party
beneficiary.(Cases:Contracts187(1).C.J.S.Contractsj602.)

Third-partp D ebt-c ollector;
third party debtcollector;TheFDCPA broadly definesadebtcollectoras%çany person
who usesany instrum entality ofinterstatecom m erce orthe m ailsin any businessthe
principalpurpose ofwhich isthe collection ofany debts,orwho regularly collectsor
attem ptsto collect,directly orindirectly,debtsowed ordue orasserted to be owed or
due another.'' W hilethe FDCPA generally only appliesto third party debtcollectors--
notintem alcollectorsforan çioriginalcreditor''.




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T ranche;
tranche(transh),n.lFrenchçtslice'')Securities.1.A bondissuederivedfrom ayooling
ofsim ilardebtobligations.*A trancheusu.differs9om otherissuesby m atunty date or
rate ofrettlm .2.A block ofbondsdesignated forsale in a foreign cotmtry.- A lso
spelled tranch;trench.See COLLATER ALIZED M ORTGAGE OBLIGATION .
Black'sLaw Dictionary(8thed.2004)pg4667.

Transaction-A ccount;
A bank accountfrom which paym entscan bem adeto athird party.Perhapsthe m ost
comm on type oftransaction accountisa checking accountwhere one can write
a check orusea debitcard to deductan am ountfrom the accountand give itto a third
party withouthaving to go personally to the bânk to m ake a withdrawal.


T rover;
trover.A com m on-law action forthe recovery ofdam ages forthe conversion of
personalproperty,the dam ages generally being m eastlred by the value ofthe property.
-
  Also termedtroverandconversion.Cf.DETINUE;REPLEVIN.(Cases:Troverand
Conversion 1,43.C.J.S.Troverand Conversion jj 1-3,5-7,120-121.)
itTroverm ay be m aintained fora11kindsofpersonalproperty,including legal
docum ents,butnotwhere articlesare severed from land by an adverse possessor,at
leastuntilrecovery ofpossession ofthe land.ltliesforthem isappropriation ofspecific
m oney,butnotforbreach ofan obligation to pay wherethere isno duty to retum
specifcmoney.''Benjamin J.Shipman,Handbook ofCommon-Law Pleadingj43,at
99 tHenry W inthrop Ballantineed.,3d ed.1923).Black,sgthpage4697.


T rue-lnvestor;
investor.1.A buyerofasecurityorotherpropertywhoseekstoprofitfrom itwithout
exhausting theprm cipal.
2.Broadly,aperson who spendsmoney w ith an expectation ofearning a profit.
Black'sLaw Dictionary (8th ed.2004)pg 2424.
Trustee;
Onewho,having legaltitleto property,holdsitin trustforthe benefitofanotherand
owesafiduciay dutytothatbenefkiary.Black,sgth
Black'sLaw Dlctionary (8th ed.2004)pg4713.


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U nclean H ands;
clean-handsdoctrine.Theprinciple thataparty cannotseek equitablerelieforassertan
equitable defense ifthatparty hasviolated an equitableprinciple,such asgood faith.*
Suchapartyisdescribedashavingç<uncleanhands.''Forexamyle,j8oftheUniform
ChildCustodyJurisdictionActcontainsanunclean-handsgrovlsionthatforbidsacourt
from exercisingjurisdiction in achild-custodysuitin certaln situations,aswhen one
partyhaswronjfullyremovedachild9om anotherstate,hasimproperlyretained
custody ofa chlld ahervisitation,orhaswrongfully rem oved a child from theperson
withcustody Theclean-handsdoctrineevolvedfrom thediscretionarynattlreof
equitablerehefin English courtsofequity,such asChancery.- Also term ed unclean-
handsdoctrine.(Cases:Equity 6S.C.J.S.Equity j 102.)
Black'sLaw Dictionary (8th ed.2004)pg 757.

U nincorporated-A ssociation;
Unincom orated association isa group ofpersonssuch asa club orpartnership which is
notlegally incop orated.Usually,there are no ofscialformalitiesto form an
unincom orated association.However,somejurisdictionsmay requireaminimum
num berofpersonsto form such an association.Such associationsm ay generally be
form ed fora com m on purpose.

U p-Front;
Paym entforsaid investm entism adepriorto theREM IC acquiring the firstM ortgage
Loan.The Trust/REM IC acquired the Tnzst-certificatesto be sold to investorsbefore
the Tranchesactually held a M ortgage Loan.

U ttering;
uttering.The crime ofpresenting a falseorworthlessinstrumentwith the intentto harm
ordefraud.

V erify;
verifyab.l.To proveto betrue;to conflrm orestablish thetruth ortruthfulnessof;to
authenticate.2.To contirm orsubstantiate by oath oraffidavit;to swearto thetruth of.
Black'sLaw Dictionary(8th ed.2004)pg4834
W arehouse-tzender;
A Iine ofcreditextended by a tinancialinstimtion to a loan originator
to fund a mortgage thataborrowerinitially used to buy a property.The loan typically
lastsfrom thetim e itisoriginated to w hen the loan issold into the secondary m arket,
whetherdirectly orthrough a securitization.


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W et-M ortgage-Loan;
M eans,beforetheNOTE orM ortgageisexecuted orreceived orreviewed by theLender,
(i.e.,whentheinkontheM ortgageandNoteisstilltçwet'').

MortgageLoansforwhichtheCustodianhasnotyetreceiveda(completed)setof
docum entsrequired to bedelivered to theCustodlan pursuantto theA greement.

W et-prom issorp N o TE;
Financing isprovided to a LEHM AN BR O TH ER S B A N K FSB ,in orderto lend that
m oney to PetitionerbeforetheN OTE hasbeen received and reviewed by the Lender,
LEHM AN BROTHERS HOLDINGS INC,(i.e.,when theink ontheM ortgageNoteis
stillftwet'').
W ithoutR ecourse;
withoutrecourse.tlnan indorsement)withoutliability to subsequentholders..W iththis
stipulation,one who indorsesan ins% m entindicatesthathe orshehasno further
liabilityto anysubsequentholderforpayment.gcases:BillsandNotes293.C.J.S.
BillsandNotes;LettersofCreditj 160.1
Black'sLaw Dictionary(8thed.2004)starting @ pg4945.




KORM AN vAURORAetql.              Page233 of233
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                                                           )                               NOW CE:AttorneysM UST IndicateAllRe-fled CasesBelow.
1.(a) PLAINTIFFS                                                                                    DEFENDANTS
JOHN K ORM AN                                                                                       AIJROR A LOAN SERV ICES LLC . etal.

   (b) countyofRoidenceofFirstListedPlaintifr                   Palm Beach                          countyofResidenceofFirstListedDefendant                  Arapahoe
                               (EXCEBT IN U.S.PLAINTIFF CASES)                                                              (IN U.S.PLAINTIFFCASES ONLY)
(C) Attomey'slFi
               rmName.AddresssandTelephoneNumber)                                                        NOTE:INLANDCONDEMNATIONCASES.USETHELOCATIONOFTHETRACT
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(d)CheckCountyWhereActionArose: nMIAMI-DADE (
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